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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    CASA SYSTEMS, INC., et al., 1                               Case No. 24-10695 (KBO)

                          Debtors.                              (Joint Administration Requested)


     NOTICE OF (I) POTENTIAL ASSUMPTION AND ASSIGNMENT OF
EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND (II) CURE AMOUNTS

        You are receiving this notice (the “Cure Notice”) because you may be a Counterparty
to an executory contract or unexpired lease of the Debtors that may be assumed and assigned
to the Cloud/RAN Purchaser or as otherwise contemplated in the Cloud/RAN Sale
Transaction (each, a “365 Contract”). If you fail to respond to this Cure Notice, you shall be
deemed to have consented to the assumption by the Debtors and assignment to the
Cloud/RAN Purchaser of the 365 Contract.

PLEASE TAKE NOTICE OF THE FOLLOWING:

        On April 3, 2024, the Debtors filed a motion [Docket No. 42] (the “Cloud/RAN Sale
Motion”), 2 pursuant to sections 363 and 365 of the Bankruptcy Code and Rules 2002, 6004, and
6006 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”), seeking entry of an order
(the “Cloud/RAN Sale Order”) approving the sale of the Debtors’ Cloud/RAN Assets to Lumine
Group Holdco Inc. (the “Cloud/RAN Purchaser”), free and clear of all liens, claims and
encumbrances (such transaction, the “Cloud/RAN Sale Transaction”).

        The Debtors may assume and assign to the Cloud/RAN Purchaser one or more of those
executory contracts and unexpired leases listed on Exhibit A annexed hereto (collectively,
the “Potentially Assigned Agreements” and each, a “Potentially Assigned Agreement”), pursuant
to section 365 of the Bankruptcy Code.

       Each of the 365 Contracts that may be assumed and assigned in connection with
the Cloud/RAN Sale Transaction and the Debtors’ calculation of the Cure Amounts with respect
thereto are set forth on Exhibit A hereto. The Cure Amounts are the only amounts proposed to be
paid upon the assumption and assignment of the 365 Contracts.



1
  The Debtors in these chapter 11 cases, together with the last four digits of the Debtors’ federal tax identification
number, are Casa Systems, Inc. (8867), Casa Systems Securities Corporation (1151), and Casa Properties LLC
(6767). The Debtors’ service address is 100 Old River Road, Andover, MA 01810.
2
 Capitalized terms used but not defined herein have the meaning ascribed to such terms in the Cloud/RAN Sale
Motion.
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       The inclusion of any contract or lease on Exhibit A shall not constitute or be deemed a
determination or admission by the Debtors that such contract or other document is, in fact, an
executory contract or unexpired lease within the meaning of the Bankruptcy Code (all rights with
respect thereto being expressly reserved). If you disagree with the proposed Cure Amounts, you
must file an objection in accordance with the instructions below.

                                           Objections

A. Cure Objections

        Any objection to the potential assumption, assignment, or designation of a 365 Contract
identified on Exhibit A, the subject of which objection is the Debtors’ proposed Cure Amounts,
if any, must (i) be in writing, (ii) comply with the Bankruptcy Code, Bankruptcy Rules, and Local
Rules, (iii) state, with specificity, the legal and factual basis thereof, including, what Cure
Amounts the objecting party believes are required, (iv) include any appropriate documentation in
support thereof, (v) be filed with the Court by no later than April 17, 2024 at 4:00 p.m.
(prevailing Eastern Time), and (vi) served on (a) Casa Systems, Inc., 100 Old River Road,
Andover, MA 01810; (Attn: Timothy Rodenberger (timothy.rodenberger@casa-systems.com));
(b) proposed counsel to the Debtors, Sidley Austin LLP, 787 Seventh Avenue, New York, NY
10019 (Attn: Patrick Venter (pventer@sidley.com) and Julia Philips Roth
(julia.roth@sidley.com)); proposed co-counsel to the Debtors, Young Conaway Stargatt &
Taylor, LLP, 1000 N. King Street, Rodney Square, Wilmington, DE 19801 (Attn.: Joseph Barry
(jbarry@ycst.com) and Joseph M. Mulvihill (jmulvihill@ycst.com)); (c) counsel to the Ad Hoc
Group, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036, Attn:
Philip C. Dublin (pdublin@akingump.com), Kevin Eide (keide@akingump.com) and Melanie A.
Miller (melanie.miller@akingump.com); (d) the Office of the United States Trustee for the
District of Delaware (the “U.S. Trustee”), J. Caleb Boggs Federal Building, 844 King Street, Suite
2207, Wilmington, DE 19801 (Attn.: Jane M. Leamy and Malcolm M. Bates
(jane.m.leamy@usdoj.gov and malcolm.m.bates@usdoj.gov)); (e) counsel to any statutory
committee that has been appointed in the chapter 11 cases; and (f) counsel to the (f)
        counsel to the Cloud/RAN Purchaser, Alston & Bird LLP, 1201 West Peachtree Street,
Suite 4900, Atlanta, GA 30309-3424, Attn: Aaron Dixon (aaron.dixon@alston.com) and Charlie
Yates (charlie.yates@alston.com) (collectively, the “Objection Notice Parties”).

IF NO ASSIGNMENT OBJECTION IS TIMELY FILED WITH RESPECT TO A 365
CONTRACT: (I) THE COUNTERPARTY TO SUCH 365 CONTRACT SHALL BE
DEEMED TO HAVE CONSENTED TO THE ASSUMPTION BY THE DEBTORS AND
ASSIGNMENT TO THE PURCHASER OF THE 365 CONTRACT, AND BE FOREVER
BARRED FROM ASSERTING ANY OBJECTION WITH REGARD TO SUCH
ASSUMPTION AND ASSIGNMENT (INCLUDING, WITHOUT LIMITATION, WITH
RESPECT TO ADEQUATE ASSURANCE OF FUTURE PERFORMANCE BY THE
PURCHASER); (II) ANY AND ALL DEFAULTS UNDER THE 365 CONTRACT AND
ANY AND ALL PECUNIARY LOSSES RELATED THERETO SHALL BE DEEMED
CURED AND COMPENSATED PURSUANT TO SECTION 365(B)(1)(A) AND (B) OF
THE BANKRUPTCY CODE UPON PAYMENT OF THE CURE AMOUNT SET FORTH
IN THE APPLICABLE POTENTIAL ASSUMPTION AND ASSIGNMENT NOTICE FOR

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SUCH 365 CONTRACT; AND (III) THE COUNTERPARTY SHALL BE FOREVER
BARRED FROM ASSERTING ANY OTHER CLAIMS RELATED TO SUCH 365
CONTRACT AGAINST THE DEBTORS AND THEIR ESTATES OR THE
PURCHASER, OR THE PROPERTY OF ANY OF THEM, THAT EXISTED PRIOR TO
THE ENTRY OF THE ORDER RESOLVING THE CURE OBJECTIONS AND THE
SALE ORDER (AS DEFINED BELOW).

B. Adequate Assurance Objections

      Any objection to adequate assurance is preserved and can be submitted in writing, in a
manner consistent with the procedures set forth above with respect to cure objections, on or prior
to April 17, 2024 at 4:00 p.m. (prevailing Eastern Time).

                                          Cure Objection Hearing

Cure Objections that cannot be resolved by the parties will be heard by the Court on a date to be
determined. 3

                              [Remainder of Page Intentionally Left Blank.]




3
 Once the date of the Cloud/RAN Sale Hearing is confirmed by the Court, a supplemental notice of such hearing shall
be provided.


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Dated: April 3, 2024
Wilmington, Delaware

/s/ Joseph M. Mulvihill
YOUNG CONAWAY STARGATT &                      SIDLEY AUSTIN LLP
TAYLOR, LLP                                   Stephen E. Hessler (pro hac vice pending)
Joseph Barry (Del. Bar No. 4221)              Patrick Venter (pro hac vice pending)
Joseph M. Mulvihill (Del. Bar No. 6061)       Margaret R. Alden (pro hac vice pending)
Timothy R. Powell (Del. Bar No. 6894)         787 Seventh Avenue
1000 North King Street                        New York, New York 10019
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Proposed Co-Counsel to the Debtors and        Telephone: (312) 853-7000
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                                              Proposed Co-Counsel to the Debtors and
                                              Debtors in Possession




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                       Exhibit A

                    365 CONTRACTS
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                                                                 Exhibit A - 365 Contracts

Counterparty Name                         CASA Legal Entity    Document Title                                                 Effective Date   Cure Amount
Altran ACT                                Casa Systems, Inc.   Teaming Agreement                                                1/25/2021               -
Altran Act S.A.S                          Casa Systems, Inc.   License Agreement                                               12/24/2019               -
Altran Act S.A.S.                         Casa Systems, Inc.   License Agreement                                                  4/3/2020              -
Altran Act S.A.S.                         Casa Systems, Inc.   Addendum no.2 to Amendment #2 to License Agreement               6/19/2020               -
Amazon Web Services Inc.                  Casa Systems, Inc.   AWS Enterprise Agreement                                         4/15/2021               -
Aricent Holdings Luxembourg S.a.r.l.      Casa Systems, Inc.   Master Software License Agreement                                2/11/2013               -
Aricent Holdings Luxembourg S.a.r.l.      Casa Systems, Inc.   Master Software License Agreement                                2/11/2013               -
Aricent Holdings Luxembourg, S.a.r.l.     Casa Systems, Inc.   Amendment no.1 To Master Software License Agreement              3/30/2017               -
Aricent Holdings Luxembourg, S.a.r.l.     Casa Systems, Inc.   Amendment no. 2 To Master Software License Agreement             3/21/2019               -
Aricent Technologies (Holdings) Limited   Casa Systems, Inc.   Evaluation Agreement                                            10/11/2022               -
CBRS Alliance                             Casa Systems, Inc.   Membership Agreement                                               8/5/2016              -
EMC Corporation                           Casa Systems, Inc.   Master Product Test Agreement                                    4/14/2023               -
GONGJIN ELECTRONIC (HONG KONG)LIMITED     Casa Systems, Inc.   AGREEMENT                                                        4/22/2022               -
Google LLC                                Casa Systems, Inc.   Strategic Partnership Memorandum of Understanding                  8/8/2022              -
Hewlett Packard Enterprise Company        Casa Systems, Inc.   HPE OpenNFV Application Partner Program Agreement                                        -
Hewlett Packard Enterprise Company        Casa Systems, Inc.   HPE Teaming Agreement                                                                    -
Hewlett Packard Enterprise Company        Casa Systems, Inc.   ISV Reseller Agreement                                          11/20/2020               -
Hewlett Packard Enterprise Company        Casa Systems, Inc.   Amendment #1                                                     6/21/2021               -
Hewlett Packard Enterprise Company        Casa Systems, Inc.   Amendment #2                                                    11/16/2022               -
Hewlett Packard Enterprise Company        Casa Systems, Inc.   Software License and Distribution Agreement                     11/20/2020               -
Hewlett-Packard France                    Casa Systems, Inc.   Proof of Concept                                                  1/3/2022               -
ipoque GmbH                               Casa Systems, Inc.   SOFTWARE LICENSE AGREEMENT                                        1/1/2021               -
Lenovo Global Technology HK Ltd           Casa Systems, Inc.   Reseller Agreement                                               4/26/2022               -
Lenovo Global Technology HK Ltd.          Casa Systems, Inc.   Product Supplier Security Agreement                              4/26/2022               -
Mocana Corporation                        Casa Systems, Inc.   EMBEDDED SOFTWARE LICENSE AGREEMENT                              4/25/2013               -
Orange Innovation Network                 Casa Systems, Inc.   Proof of Concept                                                  1/1/2021               -
Orange SA                                 Casa Systems, Inc.   Remote Access Agreement                                           5/1/2014               -
Qualcomm Incorporated                     Casa Systems, Inc.   First Amendment to LTE Smallcell Patent License Agreement        10/1/2022               -
Qualcomm Incorporated                     Casa Systems, Inc.   Patent License Agreement                                         8/23/2017               -
Qualcomm Incorporated                     Casa Systems, Inc.   Patent License Agreement                                         8/23/2017               -
Qualcomm Technologies Inc.                Casa Systems, Inc.   Master Software Agreement                                       10/24/2017        198,198.46
Qualcomm Technologies Inc.                Casa Systems, Inc.   Amendment To Master Software Agreement                            3/8/2022               -
R&S Cybersecurity ipoque GmbH             Casa Systems, Inc.   SOFTWARE LICENSE AGREEMENT                                        2/1/2018               -
RADISYS CORPORATION                       Casa Systems, Inc.   SOFTWARE LICENSE AGREEMENT                                       7/21/2015               -
RadiSys Corporation                       Casa Systems, Inc.   PRODUCT ORDER AGREEMENT                                          9/30/2020               -
RadiSys Corporation                       Casa Systems, Inc.   QuicklStart Services Agreement                                   5/10/2016               -
RadiSys Corporation                       Casa Systems, Inc.   QuicklStart Services Agreement                                  10/25/2017               -
Red Hat Inc.                              Casa Systems, Inc.   Partnership Agreement                                             8/5/2021               -
Red Hat, Inc                              Casa Systems, Inc.   Partner acceptance agreement                                     7/20/2021               -
Red Hat, Inc.                             Casa Systems, Inc.   AMENDMENT ONE : TO EMBEDDED PRODUCT RIDER                        6/14/2022               -
SEKO WORLDWIDE, LLC                       Casa Systems, Inc.   MASTER SERVICES AGREEMENT                                        3/31/2022               -
Shenzhen Gongjin Electronics Co. , Ltd.   Casa Systems, Inc.   Development and Supply Agreement                                 9/12/2018               -
Shenzhen Gongjin Electronics Co., Ltd.    Casa Systems, Inc.   Master Development and Supply Agreement                         11/15/2018               -
SHENZHEN GONGJIN ELECTRONICS CO.,LTD      Casa Systems, Inc.   AGREEMENT                                                        4/22/2022               -
STARHUB CABLE VISION LTD                  Casa Systems, Inc.   PROFESSIONAL SERVICES AGREEMENT                                  9/15/2015               -
STARHUB CABLE VISION LTD                  Casa Systems, Inc.   PROFESSIONAL SERVICES AGREEMENT                                 11/22/2013               -
Telenor Sverige AB                        Casa Systems, Inc.   Agreement on Responsible Business Conduct                        6/19/2014               -
VERIZON SOURCING LLC                      Casa Systems, Inc.   MASTER SOFTWARE LICENSE, MAINTENANCE, AND SERVICES AGREEMENT    12/17/2018               -
VERIZON SOURCING LLC                      Casa Systems, Inc.   CPE AND MANAGED SERVICES AGREEMENT                               9/29/2020               -
Verizon Sourcing LLC                      Casa Systems, Inc.   Letter Agreement                                                12/21/2021               -
Verizon Sourcing LLC                      Casa Systems, Inc.   Letter Agreement                                                 4/17/2022               -
VERIZON SOURCING LLC                      Casa Systems, Inc.   GENERAL PURCHASE AGREEMENT                                       9/23/2022               -
YTL Communications Sdn Bhd                Casa Systems, Inc.   LETTER OF INTENT                                                 3/18/2020               -
YTL COMMUNICATIONS SDN BHD                Casa Systems, Inc.   Supplemental Letter of Intent                                     5/5/2020               -
YTL COMMUNICATIONS SDN BHD                Casa Systems, Inc.   Second Supplemental Letter of Intent                              5/5/2020               -
YTL Communications Sdn. Bhd               Casa Systems, Inc.   Acceptance Test Plan                                              5/5/2020               -
YTL Communications Sdn. Bhd               Casa Systems, Inc.   Acceptance Test Plan                                              5/5/2020               -
YTL Communications Sdn. Bhd               Casa Systems, Inc.   Support and Maintenance Agreement                                                        -
YTL Communications Sdn. Bhd.              Casa Systems, Inc.   Letter of Intent                                                  5/5/2020               -
YTL Communications Sdn. Bhd.              Casa Systems, Inc.   LETTER OF INTENT                                                 6/23/2016               -
Intel Corporation                         Casa Systems, Inc.   Equipment Test Plan Agreement                                    8/26/2022               -
Intel Corporation                         Casa Systems, Inc.   Remote Access Service Terms and Conditions Agreement              8/3/2020               -
Intelsat US LLC                           Casa Systems, Inc.   Master Purchase Agreement                                        6/29/2022               -
Intelsat US LLC                           Casa Systems, Inc.   Support Services Agreement                                        7/8/2021               -
Red Hat, Inc                              Casa Systems, Inc.   Remote Access Service Terms and Conditions Agreement              8/3/2020               -
Spirent Communications                    Casa Systems, Inc.   Software License Agreement                                                               -
